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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

  TERRY HENRY,                                      )
                                                    )
                        Plaintiff,                  )
                                                    )
  v.                                                ) Case No. 13-CV-395- GKF-PJC
                                                    )
  STATE FARM MUTUAL                                 )
  AUTOMOBILE INSURANCE                              )
  COMPANY; & STATE FARM FIRE &                      )
  AND CASUALTY COMPANY,                             )
                                                    )
                        Defendants.                 )

                 JUDGMENT OF DISMISSAL WITHOUT PREJUDICE

         The Court having granted plaintiff Terry Henry’s Motion for Dismissal Without

  Prejudice upon the condition that, if the claim is re-filed, plaintiff shall pay defendants’

  recoverable fees and costs incurred in this case should defendant prevail in the re-filed

  lawsuit, and that plaintiff shall pay any necessary duplicative fees and costs incurred by

  defendants should the plaintiff prevail in the re-filed lawsuit,

         THIS CASE IS HEREBY DISMISSED WITHOUT PREJUDICE.

         DATED this 2nd day of July, 2014.
   




   
